                                                                                                                  Case 2:23-cv-11634-NGE-APP ECF No. 14, PageID.68 Filed 08/01/23 Page 1 of 11


                                                                                                                                      UNITED STATES DISTRICT COURT
                                                                                                                                      EASTERN DISTRICT OF MICHIGAN
                                                                                                                                           SOUTHERN DIVISION

                                                                                                                  JULIA ZIMMERMAN,

                                                                                                                               Plaintiff,                  Case No. 2:23-cv-11634-NGE-APP
The Health Law Partners, P.C. - 32000 Northwestern Hwy., Ste. 240 – Farmington Hills, MI 48334 - (248) 996-8510




                                                                                                                  vs.                                      Judge: Hon. Nancy G. Edmunds
                                                                                                                                                           Magistrate Judge:
                                                                                                                  ELIZABETH A. PENSLER, D.O., PLLC         Hon. Anthony P. Patti
                                                                                                                  (d/b/a “Pensler Vein and Vascular”,
                                                                                                                  “Pensler Vein and Vascular Surgical
                                                                                                                  Institute”, and “Elizabeth Face +
                                                                                                                  Body Med Spa”) et al.,

                                                                                                                                 Defendants.
                                                                                                                  __________________________________________________________________/
                                                                                                                  DEBORAH GORDON LAW                     THE HEALTH LAW
                                                                                                                  Deborah L. Gordon (P27058)             PARTNERS, P.C.
                                                                                                                  Elizabeth Marzotto Taylor (P82061)     Clinton Mikel (P73496)
                                                                                                                  Sarah Gordon Thomas (P83935)           Attorneys for the Defendants
                                                                                                                  Molly Savage (P84472)                  Elizabeth A. Pensler, D.O., PLLC
                                                                                                                  Attorneys for the Plaintiff            (d/b/a “Pensler Vein and Vascular
                                                                                                                  Julia Zimmerman                        “Pensler Vein and Vascular Surgical
                                                                                                                  33 Bloomfield Hills Parkway, Suite 220  Institute”, and “Elizabeth Face +
                                                                                                                  Bloomfield Hills, Michigan 48304       Body Med Spa”); Elizabeth Med
                                                                                                                  Tel: (248) 258-2500                    Spa, PLLC Derek L. Hill, D.O.,
                                                                                                                  dgordon@deborahgordonlaw.com           PLLC; (d/b/a “Hill Orthopedics”),
                                                                                                                  emarzottotaylor@deborahgordonlaw.com Elizabeth Pensler, D.O. and
                                                                                                                  sthomas@deborahgordonlaw.com           Derek Hill, D.O.
                                                                                                                  msavage@deborahgordonlaw.com           3200 Northwestern, #240
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                                                                                                                  __________________________________________________________________/
                                                                                                                         DEFENDANTS’ MOTION FOR AN EXTENSION OF
                                                                                                                        TIME TO PLEAD, MOVE OR OTHERWISE RESPOND
                                                                                                                          TO PLAINTIFF’S FIRST AMENDED COMPLAINT
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                                                                                                                   Defendants, Elizabeth A. Pensler, D.O., PLLC (d/b/a “Pensler Vein and

                                                                                                            Vascular”, “Pensler Vein and Vascular Surgical Institute”, and “Elizabeth Face +

                                                                                                            Body Med Spa”); Elizabeth Med Spa, PLLC; Derek L. Hill, D.O., PLLC (d/b/a

                                                                                                            “Hill Orthopedics”); Elizabeth Pensler, D.O.; and Derek Hill, D.O.

                                                                                                            (“Defendants”) by and through their counsel, The Health Law Partners, P.C.,
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                                                                                                            move under Federal Rules of Civil Procedure (“FRCP”) 6(b)(1)(A) and Local

                                                                                                            Rule (“LR”) 7.1(a), for a forty-five (45) day extension of time to plead, move, or

                                                                                                            otherwise respond to Plaintiff’s First Amended Complaint (“Amended

                                                                                                            Complaint”). In support of its Motion, Defendants rely upon the rules, law, and

                                                                                                            argument set forth their Brief in Support and state as follows:

                                                                                                                  1.     On July 10, 2023, Julia Zimmerman (“Plaintiff”), filed the original

                                                                                                            Complaint. (Dkt. 1). On July 19, 2023, and prior to Defense Counsel entering an

                                                                                                            appearance, Plaintiff filed an Amended Complaint. (Dkt. 11).

                                                                                                                  2.     Pursuant to LR 7.1(a), on July 26, 2023, Defense Counsel emailed

                                                                                                            Plaintiff’s Counsel, requesting a 45-day extension to respond to the Complaint.

                                                                                                            (“EX. A”). The same day, Plaintiff’s Counsel, Elizabeth Marzotto Taylor (“Ms.

                                                                                                            Marzotto Taylor”) emailed Defense Counsel, provided an Amended Complaint

                                                                                                            for the first time, did not concur with a 45-day extension, and stated she would

                                                                                                            only grant “a one-week extension.” (“EX. B”).

                                                                                                                  3.     Thinking that a miscommunication must have occurred, on July 26,

                                                                                                            2023, Defense Counsel, Clinton Mikel, emailed Ms. Marzotto Taylor, explaining

                                                                                                                                                     2
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                                                                                                            in-depth the reasons for the requested extension, including: (1) Defense Counsels’

                                                                                                            busy client docket (transactional and litigation); (2) that Defense Counsel have pre-

                                                                                                            planned vacations; (3) summertime camp/childcare logistics; (4) out-of-town cases

                                                                                                            and work travel; (5) Plaintiff named five defendants (two individuals and three

                                                                                                            entities, with associated d/b/a’s); (6) that Defense Counsel was unsure about joint
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                                                                                                            representation; and (7) Defense Counsel still needed to evaluate changes to the

                                                                                                            Amended Complaint, internally and with the clients. (“EX. C”). Mr. Mikel

                                                                                                            requested the response to the Amended Complaint be due on or before September

                                                                                                            23, 2023. (Id.).

                                                                                                                  4.      On July 27, 2023, Ms. Marzotto Taylor emailed Mr. Mikel and stated

                                                                                                            her firm “does not grant 45-day extensions for the purpose of an Answer, as [it]

                                                                                                            would create a disadvantage to [her] client” and Defendants were “served with the

                                                                                                            amended complaint by mail on July 25.” (“EX. D”). Ms. Marzotto Taylor did not

                                                                                                            explain how a first extension of time would disadvantage her client.

                                                                                                                  5.     On July 27, 2023, Mr. Mikel emailed Ms. Marzotto Taylor and

                                                                                                            advised that Defense Counsel is “not sure that we are answering/counterclaiming

                                                                                                            as opposed to filing a Motion to Dismiss… Does that change anything?” (“EX. E”,

                                                                                                            p. 2). Mr. Mikel said, “if we only get an extra week…we will have to file a

                                                                                                            Motion” (Id.). Ms. Marzotto Taylor did not change her position. (Id., p. 2).

                                                                                                                  6.     In furtherance of LR 7.1(a), Defense Counsel arranged a telephone

                                                                                                            meet-and confer for Monday, July 31, 2023, at 2:00 p.m. Mr. Mikel stated, “if we

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                                                                                                            must waste the Court’s time on this, I want to make sure that we have tried every

                                                                                                            angle.” (Id.). Defense Counsel “waited 20 minutes on the call but [Plaintiff’s

                                                                                                            Counsel] didn’t join…” (“EX. F”). Mr. Mikel asked via email if “everything is

                                                                                                            OK”, understanding that fellow attorneys have hectic personal/professional lives

                                                                                                            and missed calls happen. (Id.)
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                                                                                                                  7.     Mr. Mikel further detailed why the extension was needed, including:

                                                                                                            (1) the clients are currently in Spain and getting back this week; (2) Mr. Mikel’s

                                                                                                            father-in-law is going to hospice shortly in Missouri, and travel between will be

                                                                                                            added; (3) Mr. Mikel’s mother is having surgery to remove thyroid cancer at the

                                                                                                            end of August; and (4) the Client is still waiting to hear if insurance panel counsel

                                                                                                            may be appointed/take over. (Id.).

                                                                                                                  8.     Mr. Mikel advised Ms. Marzotto Taylor that he “ha[s] never been in

                                                                                                            a position of begging opposing counsel for a standard extension and [is]

                                                                                                            perplexed at [the] opposition.” (Id.). Indeed, it is exceedingly rare to need to go

                                                                                                            in-depth with fellow professionals on extension requests. In the spirit of

                                                                                                            compromise, Mr. Mikel stated Defendants “would settle on a 30-day negotiated

                                                                                                            extension until September 11, 2023, and, of course, would grant [Plaintiff]

                                                                                                            reciprocity. [But] If [Defendants] have to file the Motion, though, that takes

                                                                                                            additional time off our plate and we would be asking for 45-days.” (Id.).

                                                                                                                  9.     Defense Counsel, Deborah Gordon (“Ms. Gordon”), who was copied

                                                                                                            on the email after the missed meet-and-confer, responded by email, and advised

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                                                                                                            Mr. Mikel to call her. Defense Counsel contacted Mr. Gordon via telephone on

                                                                                                            July 31, 2023. (“EX. G”).

                                                                                                                  10.    During the re-scheduled meet-and-confer, Ms. Gordon said they could

                                                                                                            not grant the extension because of three or possibly four trials coming up, and

                                                                                                            Defendants’ response if an extension was granted would conflict with those trials.
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                                                                                                            Defense Counsel again offered to accommodate Plaintiff with corollary or greater

                                                                                                            extensions. Ms. Gordon stated that extending the briefing schedule would

                                                                                                            prejudice her client, in addition to conflicting with her trial schedule. Ms. Gordon

                                                                                                            said they might consider a two-week extension but could not commit without

                                                                                                            determining if the briefing schedule conflicted with their trial schedule. (“EX. H”).

                                                                                                                  11.    Ironically, Ms. Gordon cited her firm’s own busy schedule as the basis

                                                                                                            to refuse an extension, when this is the reason Defense Counsel sought their

                                                                                                            extension. Mr. Mikel advised Ms. Gordon that two weeks was not enough so she

                                                                                                            didn’t need to consider 2-weeks and get back to him, necessitating this motion.

                                                                                                            (Id.). Ms. Gordon indicated that she would oppose this Motion.

                                                                                                                  12.    Plaintiff claims it served Defendants with the Amended Complaint on

                                                                                                            July 25, 2023, by mail. Pursuant to FRCP 6 and 15, Defendants are required to

                                                                                                            respond on the date of response for the original pleading or 14 days, which is ever

                                                                                                            longer -- plus an additional three days for mail. The response dates for the Original

                                                                                                            Complaint are August 7 and 8, 2023. Thus, the response to the Amended

                                                                                                            Complaint would be due on Augst 11, 2023 (14-days plus 3 days for mail service).

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                                                                                                                  13.    As Plaintiff’s Counsel refused to grant a simple routine 30-days

                                                                                                            extension of time, Defense Counsel requests that the Court grant the originally

                                                                                                            requested 45-day extension of time from the original due date (August 11, 2023)

                                                                                                            and issue an order permitting Defendants to plead, move, or otherwise respond to

                                                                                                            the Amended Complaint on or before September 25, 2023.
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                                                                                                                  14.    Undersigned Defense Counsel, affirms and declares under the penalty

                                                                                                            of perjury, that the above is true and accurate and that the Exhibits are true and

                                                                                                            accurate copies of emails sent in the normal course of business.

                                                                                                                  WHEREFORE, Defendants, requests that this Court enter an Order:

                                                                                                                  A. Granting Defendants, a 45-day extension of time to plead, move or
                                                                                                                     otherwise respond to the First Amended Complaint (Dkt. 11) and
                                                                                                                     ordering Defendants to serve and file said response on or before
                                                                                                                     September 25, 2023 and granting all other relief to which Defendants are
                                                                                                                     entitled under the law.

                                                                                                            Dated: August 1, 2023                   Respectfully submitted,
                                                                                                                                                    THE HEALTH LAW PARTNERS, P.C.

                                                                                                                                                    /s/ Clinton Mikel
                                                                                                                                                    Clinton Mikel, (P73496),
                                                                                                                                                    Attorney for Defendants
                                                                                                                                                    Elizabeth A. Pensler, D.O., PLLC (d/b/a
                                                                                                                                                    Pensler Vein and Vascular, Pensler Vein and
                                                                                                                                                    Vascular Surgical Institute, and Elizabeth
                                                                                                                                                    Face + Body Med Spa, Elizabeth Med Spa,
                                                                                                                                                    PLLC, Derek L. Hill, D.O., PLLC d/b/a Hill
                                                                                                                                                    Orthopedics, Elizabeth Pensler, D.O. and
                                                                                                                                                    Derek Hill, D.O.
                                                                                                                                                    32000 Northwestern Hwy., Suite 240
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                                                                                                                                UNITED STATES DISTRICT COURT
                                                                                                                                EASTERN DISTRICT OF MICHIGAN
                                                                                                                                     SOUTHERN DIVISION

                                                                                                            JULIA ZIMMERMAN,

                                                                                                                         Plaintiff,                  Case No. 2:23-cv-11634-NGE-APP
                                                                                                                                                     District Court Judge:
                                                                                                            vs.                                      Hon. Nancy G. Edmunds
The Health Law Partners, P.C. - 32000 Northwestern Hwy., Ste. 240 - Southfield, MI 48334 - (248) 996-8510




                                                                                                                                                     Magistrate Judge:
                                                                                                            ELIZABETH A. PENSLER, D.O., PLLC         Hon. Anthony P. Patti
                                                                                                            et al.

                                                                                                                           Defendants.
                                                                                                            __________________________________________________________________/
                                                                                                            DEBORAH GORDON LAW                     THE HEALTH LAW
                                                                                                            Deborah L. Gordon (P27058)             PARTNERS, P.C.
                                                                                                            Elizabeth Marzotto Taylor (P82061)     Clinton Mikel (P73496)
                                                                                                            Sarah Gordon Thomas (P83935)           Attorneys for the Defendants
                                                                                                            Molly Savage (P84472)                  Elizabeth A. Pensler, D.O., PLLC
                                                                                                            Attorneys for the Plaintiff            (d/b/a “Pensler Vein and Vascular
                                                                                                            Julia Zimmerman                        “Pensler Vein and Vascular Surgical
                                                                                                            33 Bloomfield Hills Parkway, Suite 220  Institute”, and “Elizabeth Face +
                                                                                                            Bloomfield Hills, Michigan 48304       Body Med Spa”); Elizabeth Med
                                                                                                            Tel: (248) 258-2500                    Spa, PLLC Derek L. Hill, D.O.,
                                                                                                            dgordon@deborahgordonlaw.com           PLLC; (d/b/a “Hill Orthopedics”),
                                                                                                            emarzottotaylor@deborahgordonlaw.com Elizabeth Pensler, D.O. and
                                                                                                            sthomas@deborahgordonlaw.com           Derek Hill, D.O.
                                                                                                            msavage@deborahgordonlaw.com           3200 Northwestern, #240
                                                                                                                                                   Farmington Hill, MI 48334
                                                                                                                                                   Tel: (248) 996-8510
                                                                                                                                                   cmikel@thehlp.com
                                                                                                            ________________________________________________________________/

                                                                                                             DEFENDANTS’ BRIEF IN SUPPORT OF MOTION FOR AN EXTENSION
                                                                                                               OF TIME TO PLEAD, MOVE OR OTHERWISE RESPOND TO THE
                                                                                                                       PLAINTIFF’S FIRST AMENDED COMPLAINT




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                                                                                                                            STATEMENT OF THE ISSUE PRESENTED

                                                                                                                 Should the Court grant all Defendants a 45-day extension of time to plead,

                                                                                                            move or otherwise respond the First Amended Complaint?

                                                                                                                 Defendants’ Answer: Yes.

                                                                                                                 Plaintiff’s Answer: No.
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                                                                                                                                 MOST CONTROLLING AUTHORITY

                                                                                                                  Federal Rules of Civil Procedure 6(b)(1)(A)

                                                                                                                                                ARGUMENT

                                                                                                                  This Court may extend a response date either on its own or upon a request

                                                                                                            that is made before the time to act has expired and upon good cause shown. See
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                                                                                                            FRCP 6(b)(1)(A). The Local Rules for the Eastern District of Michigan confirm

                                                                                                            that FRCP 6(b)(1)(A) “permits a person to seek an enlargement of time ‘with or

                                                                                                            without motion or notice . . . if a request is made before the original time or its

                                                                                                            extension expires. . . .” [and] the Court generally prefers that such relief be

                                                                                                            sought by stipulation or motion…[and] LR 7.1(a) still applies. LR 7.1 (emphasis

                                                                                                            added). The court retains the inherent authority to alter a briefing schedule. LR 7.1.

                                                                                                                  Moreover, Honorable Nancy G. Edmund’s individual rules state that

                                                                                                            “Court routinely grants extension requests if they are timely filed.” Pursuant to

                                                                                                            FRCP 15, “[u]nless the court orders otherwise, any required response to an amended

                                                                                                            pleading must be made within the time remaining to respond to the original pleading

                                                                                                            or within 14 days after service of the amended pleading, whichever is later.” Pursuant

                                                                                                            to FRCP 6, three days are added for service of pleadings by mail. FRCP 6 and 15.

                                                                                                                  Based upon the above motion, Defendants’ response to the Amended Complaint

                                                                                                            is due on August 11, 2023. Therefore, this motion is being submitted in advance of

                                                                                                            the deadline and is therefore timely.

                                                                                                                  Pursuant to LR 7.1(a) Defendants sought concurrence for the motion and

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                                                                                                            complied with the meet-and-confer requirements. Plaintiff’s Counsel did not concur in

                                                                                                            the motion. Defense Counsel agreed to compromise and asked for a 30-day extension.

                                                                                                            But Plaintiff’s counsel still refused.

                                                                                                                   Finally, Defendants have cited good cause for the requested extension, including

                                                                                                            busy litigation and transaction dockets, pre-planned family vacations, summer child-
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                                                                                                            care issues, family members entering hospice and surgery, the number of Defendants

                                                                                                            and claims in the case, potential insurance coverage/panel counsel issues, as well as

                                                                                                            the clients currently being in Spain and returning later in the week.

                                                                                                                   Plaintiff ironically cited a busy schedule as the reason for not granting

                                                                                                            Defendants’ first request for an extension when Defense Counsel’s busy schedule and

                                                                                                            personal situation are the reasons for the requested extension. Defense Counsel agree

                                                                                                            to grant the same or even a more copious extension to Plaintiff.

                                                                                                                   Defendants’ Counsel are sheepish about, and apologize for, burdening the

                                                                                                            Court with an unstipulated request/Motion for extension of time, but have no other

                                                                                                            course to follow. For all these reasons, the Court should grant the requested 45-day

                                                                                                            extension of time and issue an order permitting all Defendants to plead, move, or

                                                                                                            otherwise respond to the First Amended Complaint on or before September 25, 2023,

                                                                                                            and any other relief to which the Defendants are entitled to.

                                                                                                            Dated: August 1, 2023,                   Respectfully submitted,
                                                                                                                                                     THE HEALTH LAW PARTNERS, P.C.

                                                                                                                                                     /s/ Clinton Mikel
                                                                                                                                                     Clinton Mikel, (P73496),
                                                                                                                                                     Attorney for Defendants
                                                                                                                                                       10
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                                                                                                                                                   Elizabeth A. Pensler, D.O., PLLC (d/b/a
                                                                                                                                                   Pensler Vein and Vascular, Pensler Vein and
                                                                                                                                                   Vascular Surgical Institute, and Elizabeth
                                                                                                                                                   Face + Body Med Spa, Elizabeth Med Spa,
                                                                                                                                                   PLLC, Derek L. Hill, D.O., PLLC d/b/a Hill
                                                                                                                                                   Orthopedics, Elizabeth Pensler, D.O. and
                                                                                                                                                   Derek Hill, D.O.
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                                                                                                                                                   Fax (248) 996-8525
                                                                                                                                                   cmikel@thehlp.com


                                                                                                                                      CERTIFICATE OF SERVICE

                                                                                                                   I certify that on August 1, 2023, I electronically filed the foregoing with the
                                                                                                            Clerk of the Court by using the CM/ECF system which will send email notification of
                                                                                                            electronic filing to counsel for all parties of record.

                                                                                                                                                           s/Clinton Mikel
                                                                                                                                                           Clinton Mikel
                                                                                                                                                           The Health Law Partners, P.C.
                                                                                                                                                           Attorneys for Defendants
                                                                                                                                                           32000 Northwestern Hwy., Ste. 240
                                                                                                                                                           Farmington Hills, MI 48334




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